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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY

  KATHLEEN TURNER,                             )      CASE NO. 5:21-cv-00317-DCR
                                               )
                 Plaintiff,                    )      JUDGE DANNY C. REEVES
                                               )
  vs.                                          )
                                               )
  DISH NETWORK L.L.C., et al.,                 )
                                               )
                 Defendants.
                                               )

                                   JOINT STATUS REPORT

        Pursuant to the Scheduling Order, Plaintiff Kathleen Turner and Defendant DISH Network

 L.L.C. (the “Parties”) submit this Joint Status Report summarizing the case activity for the

 preceding thirty days. (See Doc. 32.)

        The Parties have exchanged initial disclosures and written discovery requests. The Parties’

 written discovery responses are due on June 22. In preparation to produce documents, the Parties

 entered into a Stipulated Protective Order. (See Doc. 35.) While the Parties continue to engage in

 discovery on numerous topics, no depositions have been conducted and expert discovery has not

 yet begun. At this time, the Parties are not requesting anything from the Court.




 /s/ Christopher W. Goode                          /s/ Eric Larson Zalud
 Christopher W. Goode (KBA 88425)                  Eric Larson Zalud (pro hac vice)
 GOODE LAW OFFICE, PLLC                            Laura E. Kogan (pro hac vice)
 389 Elaine Drive                                  BENESCH, FRIEDLANDER, COPLAN
 Lexington, Kentucky 40504                             & ARONOFF LLP
 Telephone:     (859) 363-6688                     200 Public Square, Suite 2300
 Email:         cgoode@goodelawyers.com            Cleveland, Ohio 44114-2378
 Attorney for Plaintiff Kathleen Turner            Telephone: (216) 363-4500
                                                   Facsimile:     (216) 363-4588
                                                   Email:         ezalud@beneschlaw.com
                                                                  lkogan@beneschlaw.com
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                                        William W. Allen
                                        GESS MATTINGLY & ATCHISON, PSC
                                        201 West Short Street, Suite 102
                                        Lexington, Kentucky 40507-1269
                                        Telephone:    (859) 252-9000
                                        Facsimile:    (859) 233-4269
                                        Email:        wallen@gmalaw.com

                                        Attorneys for Defendant DISH Network L.L.C.




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 3, 2022 a copy of the foregoing Joint Status Report was filed

 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

 to all parties indicated on the electronic filing receipt. Parties may access this filing through the

 Court’s system.

                                                     /s/ Eric L. Zalud
                                                     Eric Larson Zalud
                                                     Attorney for Defendant DISH Network L.L.C.




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